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     Muzin
14

15                         UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA
17                      WESTERN DIVISION AT LOS ANGELES
18   BROIDY CAPITAL MANAGEMENT LLC, Case No. 2:18-CV-02421-JFW-E
     ELLIOTT BROIDY, and ROBIN
19   ROZENWEIG                         Assigned to Hon. John F. Walter and
                                       Magistrate Judge Charles F. Eick
20                       Plaintiffs,
                                       STIPULATION TO EXTEND
21        v.                           TIME TO RESPOND TO
                                       COMPLAINT
22   STATE OF QATAR, STONINGTON
     STRATEGIES LLC, NICOLAS D. MUZIN, Complaint Served: March 29, 2018
23   and DOES 1-10                     Current Response Date: April 19,
                                       2018; May 2, 2018
24                       Defendants.   New Response Date: June 8, 2018
25
                                                       Complaint Filed: March 26, 2018
26                                                     Rule 26 Report Due: May 21, 2018
                                                       Scheduling Conference: June 4, 2018
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                                                1                  Case No. 2:18-CV-02421-JFW-E
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1          This stipulation is entered into by and between, Plaintiffs BROIDY CAPITAL
2    MANAGEMENT          LLC,     ELLIOTT      BROIDY,     and   ROBIN       ROZENWEIG
3    (“Plaintiffs”), and Defendants STONINGTON STRATEGIES LLC, and NICOLAS
4    D. MUZIN (“Defendants”),1 by and through their respective counsel, as follows:
5          WHEREAS, Plaintiffs filed the Complaint on March 26, 2018 (Dkt. 1);
6          WHEREAS, Plaintiffs served the Complaint on Defendant Stonington
7    Strategies on March 29, 2018 (Dkt. 31-9);
8          WHEREAS, Plaintiffs served the Complaint on Defendant State of Qatar on
9    April 3, 2018 (Dkt. 33);
10         WHEREAS, Plaintiffs served the Complaint on Defendant Nicolas Muzin on
11   April 11, 2018;
12         WHEREAS, the current responsive pleading due date for Defendant
13   Stonington is April 19, 2018;
14         WHEREAS, the current responsive pleading due date for Defendant Muzin is
15   May 2, 2018;
16         WHEREAS, Plaintiffs contend that the current responsive pleading due date
17   for Defendant State of Qatar is June 8, 2018;
18         WHEREAS, Defendants Stonington and Muzin are represented by the same
19   counsel and share common interests and defenses;
20         WHEREAS, Plaintiffs and Defendants Stonington and Muzin have conferred
21   through counsel and have agreed it would be in the interest of fundamental fairness
22   and judicial economy for all Defendants to have their responses to the Complaint due
23   on the same day;
24         WHEREAS, Plaintiffs and Defendants Stonington and Muzin have conferred
25   through counsel and have agreed to extend the time for Defendants Stonington and
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       Counsel’s appearance and filing of the joint stipulation prior to filing a motion to
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     dismiss should not be construed as a waiver of any objection to personal jurisdiction
28   or consent to jurisdiction on the part of Defendants.
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1    Muzin to respond to the Complaint such that Defendants Stonington and Muzin will
2    file a joint responsive pleading on or before June 8, 2018;
3          WHEREAS, the new response deadline for Defendants Stonington and Muzin
4    would be beyond the 30 days that are automatically permitted under Local Rule 8-3
5    (50 days and 37 days respectively), but good cause exists to grant the extension as it
6    would promote fundamental fairness and judicial economy for all Defendants to have
7    their responses to the Complaint due on the same day;
8          WHEREAS, no other requests for extension have been made or granted;
9          WHEREAS, Plaintiffs and Defendants Stonington and Muzin through their
10   respective counsel hereby agree as follows:
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                                               -3-                 Case No. 2:18-CV-02421-JFW-E
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1         IT IS HEREBY STIPULATED AND AGREED THAT:
2      1. The time for Defendant STONINGTON STRATEGIES, LLC to respond to
3         Plaintiffs’ Complaint is extended by 50 days, or up to and including June 8,
4         2018.
5      2. The time for Defendant NICOLAS D. MUZIN to respond to Plaintiffs’
6         Complaint is extended by 37 days, or up to and including June 8, 2018.
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8    DATED: April 17, 2018                     Respectfully submitted,
9                                              WILEY REIN LLP
10                                             LECLAIRRYAN LLP
11
                                               By: s/ Brian C. Vanderhoof_________
12                                                 Brian C. Vanderhoof
13                                                   Attorneys for Defendants Stonington
                                                     Strategies LLC and Nicolas D.
14                                                   Muzin
15
     DATED: April 17, 2018                     BOIES SCHILLER FLEXNER LLP
16
                                               By: s/ Amy Neuhardt_______________
17                                                 Amy Neuhardt
18                                                  Attorneys for Plaintiffs Broidy
                                                    Capital Management LLC, Elliott
19                                                  Broidy, and Robin Rozenweig
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